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                   IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  SARAH VARGAS,                         )    CIVIL NO. 19-00116 LEK-WRP
                                        )
               Plaintiff,               )    ORDER DENYING PLAINTIFF’S
                                        )    MOTION TO DISQUALIFY THE
        vs.                             )    DEPARTMENT OF CORPORATION
                                        )
                                             COUNSEL, CORPORATION
  CITY AND COUNTY OF                    )
  HONOLULU, ET AL.,                     )    COUNSEL, AND DEPUTIES
                                        )    CORPORATION COUNSEL
               Defendants.              )
                                        )

        ORDER DENYING PLAINTIFF’S MOTION TO DISQUALIFY
     THE DEPARTMENT OF CORPORATION COUNSEL, CORPORATION
          COUNSEL, AND DEPUTIES CORPORATION COUNSEL

              Before the Court is Plaintiff’s Motion to Disqualify the Department of

 Corporation Counsel, Corporation Counsel, and Deputies Corporation Counsel

 (Motion), which seeks to disqualify defense counsel from representing both

 Defendant City and County of Honolulu and Defendant Thayne Costa in this

 action because such representation purportedly violates Rule 1.7 of the Hawai′i

 Rules of Professional Conduct (HRPC). See ECF No. 210. Defendants filed their

 Opposition on November 23, 2020. See ECF No. 215. Plaintiff filed her Reply on

 December 7, 2020. See ECF No. 219. The Court finds the Motion suitable for

 disposition without a hearing pursuant to the Local Rules of Practice for the United

 States District Court for the District of Hawaii Rule 7.1(c).
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              After careful consideration of the record in this action and the relevant

 legal authority, the Court DENIES the Motion.

                                   BACKGROUND

              In this litigation, Plaintiff alleges that she was sexually assaulted by

 Defendant David Oh, an Officer with the Honolulu Police Department, while he

 was on duty and responding to a 911 call at Plaintiff’s home. See ECF No. 38.

 Defendant Costa also responded to the 911 call at Plaintiff’s home on the night of

 the alleged sexual assault. See ECF No. 38 ¶ 24. Defendant City and County of

 Honolulu employed both Defendant Oh and Defendant Costa. See id.

              This action was filed on March 6, 2019. See ECF No. 1. The

 Department of the Corporation Counsel has represented both Defendant City and

 County of Honolulu and Defendant Costa in this litigation since June 2019. See

 ECF No. 30. Default was entered against Defendant Oh for his failure to appear

 and defend this action on March 10, 2020. See ECF No. 137.

              Trial in this matter has been bifurcated. See ECF No. 206. The first

 trial is set for February 16, 2021, on Plaintiff’s claims for negligence and negligent

 infliction of emotional distress. See id. A second trial on Plaintiff’s claims for

 violation of Plaintiff’s Fourteenth Amendment right to bodily integrity, violation of

 Plaintiff’s Fourth Amendment right to be free from unreasonable searches and

 seizures, and negligent training and supervision will follow. See id.

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                                      DISCUSSION

               In the present Motion, Plaintiff argues that she has standing to move

 to disqualify and that the Department of the Corporation Counsel must be

 disqualified under HRCP Rule 1.7 from representing both Defendant City and

 County of Honolulu and Defendant Costa. See ECF No. 210, 219. Plaintiff argues

 that a conflict exists because “it is in the City’s interest to place as much of the

 liability for Plaintiff’s injury on Costa in order to reduce the City’s own liability”

 and that “it is in Costa’s interest to assign liability to Plaintiff’s injury to the City’s

 faulty training regimen.” See ECF No. 210-1 at 2. Plaintiff argues that these

 “adversarial positions” constitute a non-waivable conflict of interest under HRPC

 Rule 1.7. Id. at 3.

               I. Timeliness

               As an initial matter, the Court finds that Plaintiff’s Motion is

 untimely. Plaintiff filed this Motion 74 days after the deadline to file non-

 dispositive motions closed on August 19, 2020. See ECF No. 183. The Court

 finds that Plaintiff was not diligent in seeking to continue this deadline or in

 pursuing the discovery that Plaintiff asserts was necessary in order to bring this

 Motion. See Fed. R. Civ. P. 16(b)(4); Johnson v. Mammoth Recreations, Inc., 975

 F.2d 604, 609 (9th Cir. 1992) (holding that Rule 16(b)’s good cause standard

 primarily considers the diligence of the party seeking the amendment).

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              The Court in unpersuaded by Plaintiff’s arguments that she could not

 have brought this motion before the deadline expired because she needed to take

 Defendant Costa’s deposition. See ECF No. 210-1 at 6-7. Plaintiff chose to wait

 to depose Defendant Costa until after the applicable motions deadline expired and

 chose not to seek any extension of the non-dispositive motions deadline pending

 that discovery. Again, defense counsel has represented both Defendant City and

 County of Honolulu and Defendant Costa since June 2019. See ECF No. 30.

 Despite being on notice regarding the joint representation for more than 17 months,

 Plaintiff did not raise any issue regarding a potential conflict of interest until three

 months before trial is scheduled to begin. Aside from the merits of the Motion,

 which are addressed below, the Court finds that Plaintiff’s Motion is untimely and

 should be denied on that basis.

              II. Standing

              Before addressing any conflict of interest, the Court must first

 consider Plaintiff’s standing to raise this issue. “As a general rule, courts do not

 disqualify an attorney on the grounds of conflict of interest unless the [ ] client

 moves for disqualification.” Kasza v. Browner, 133 F.3d 1159, 1171 (9th Cir.

 1998) (quoting United States v. Rogers, 9 F.3d 1025, 1031 (2d Cir. 1993)). The

 Ninth Circuit has stated that “it has difficulty seeing how [an opposing party] has

 standing to complain about a possible conflict of interest arising out of common

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 representation of defendants . . . having nothing to do with her own

 representation.” Id. 1

               However, courts have recognized two exceptions to this general rule.

 First, when an ethical breach is “so severe that it obstructs the orderly

 administration of justice, the party who finds his claims obstructed has standing” to

 bring a motion to disqualify. Colyer v. Smith, 50 F. Supp. 2d 966, 972 (C.D. Cal.

 1999) (citation omitted). Put differently, “where the ethical breach so infects the

 litigation . . . that it impacts the moving party’s interest in a just and lawful

 determination of her claims,” the moving party can have standing to bring a motion

 to disqualify. Id. (emphasis added).

               Second, courts have an “inherent obligation to manage the conduct of

 attorneys who appear before [them] and to ensure the fair administration of

 justice.” Colyer, 50 F. Supp. 2d at 972 (citing Chambers v. NASCO, Inc., 501


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           See ---
           --- also --------------------------
                    Hechavarria v. City and Cty. of SF, 463 Fed. Appx. 632 (9th Cir.
 2011) (“Because [plaintiff] was never in an attorney-client relationship with the
 City Attorney, the district court properly concluded that he lacked standing to
 assert a motion to disqualify.”); Blacktail Mountain Ranch Co., LLC v. Jonas, 611
 Fed. App. 430, 431 (9th Cir. 2015) (“Plaintiffs lacked standing to move for
 disqualification because they were not clients or former clients of Defendants’
 counsel”); De Dios v. Int’l Realty & Inv., 641 F.3d 1071, 1076-77 (9th Cir. 2011)
 (describing as “well- grounded and legally correct” the lower court’s finding that
 the plaintiff “lacked standing to seek disqualification for defense counsel’s alleged
 breach of duties to his client”); Rich v. Bank of America, 666 Fed. Appx. 635 (9th
 Cir. 2016) (affirming lower court’s determination that plaintiff lacked standing to
 bring a motion to disqualify defense counsel because it represents clients with
 conflicting interests).
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 U.S. 32, 43-44 (1991)). This obligation overrides any “prudential barrier to

 litigating the rights and claims of third parties,” like standing. Id.

               These two exceptions are noted in Comment 15 to Rule 1.7, which

 provides that although resolving questions of conflicts of interest is primarily the

 responsibility of each lawyer, the Court may raise the issue “when there is reason

 to infer that the lawyer has neglected the responsibility” and opposing counsel may

 raise the issue if “the conflict is such that it clearly calls into question the fair or

 efficient administration of justice.” HRPC 1.7 cmt. 15.

               Here, the Court finds that Plaintiff lacks standing to challenge the

 purported conflict of interest at issue and that the purported conduct does not rise

 to the level to warrant judicial oversight. Plaintiff, who is not a former or current

 client, argues that the alleged ethical breach would impact her interest in a just and

 lawful determination of her claims. But Plaintiff gives no concrete, specific

 explanation of how her interests have been injured or will be injured by the

 continued joint representation of Defendant City and County and Defendant Costa.

 Although Plaintiff posits hypothetical “adversarial positions” between Defendant

 City and County and Defendant Costa, no such positions have been taken by the

 Defendants in this litigation. See ECF No. 210-1 at 3-4; ECF No. 215 at 14 (“As

 the City and Costa have consistently and constantly maintained that the City and

 Costa both committed no wrongs against Plaintiff, and are thus both not negligent,

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 their defenses are not ‘directly adverse.’”). Second, the Court rejects Plaintiff’s

 contention that the Court must consider the conflict under its own inherent power.

 See ECF No. 219 at 8-9. The Court finds that Plaintiff has not demonstrated any

 conflict that “clearly calls into question the fair and efficient administration of

 justice.” Comment 15 to HRPC Rule 1.7; see Colyer, 50 F. Supp. 2d at 971 (“The

 alleged conflict – if it exists – simply does not rise to the level where it infects the

 proceedings and threatens [the plaintiff’s] individual right to a just determination

 of his claims.”). For these reasons, the Court finds that Plaintiff lacks standing to

 raise the issue of a conflict of interest in the continued joint representation of

 Defendants.

               Even assuming that Plaintiff has standing, the Court finds that there is

 no conflict in the Department of the Corporation Counsel’s representation of both

 Defendant City and County of Honolulu and Defendant Costa in this litigation.

               III. Conflict of Interest Under HRPC 1.7

               In relevant part, HRPC Rule 1.7(a) provides “a lawyer shall not

 represent a client if the representation involves a concurrent conflict of interest. A

 concurrent conflict of interest exists if (1) the representation of one client will be

 directly adverse to another client; or (2) there is a significant risk that the

 representation of one or more clients will be materially limited by the lawyer’s

 responsibilities to another client.” HRPC 1.7(a). Rule 1.7(b) allows clients to give

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 written consent to a concurrent conflict of interest under certain circumstances. 2

 The party seeking disqualification “carries a heavy burden and must satisfy a high

 standard of proof because of the potential for abuse.” Franson v. City & Cty. of

 Honolulu, 2017 WL 372976, at *9 (D. Haw. Jan. 25, 2017) (citations omitted); see

 also Optyl Eyewear Fashion Int’l Corp. v. Style Cos., Ltd., 760 F.2d 1045, 1050

 (9th Cir. 1985) (“Because of this potential for abuse, disqualification motions

 should be subjected to particularly strict judicial scrutiny.”) (citations omitted). A

 motion for disqualification “should not be decided on the basis of general and

 conclusory allegations.” Franson, 2017 WL 372976, at *9. A court’s factual

 findings for disqualification must be “supported by substantial evidence.” Id.


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          Rule 1.7 provides in full:
        (a) Except as provided in paragraph (b), a lawyer shall not represent a
 client if the representation involves a concurrent conflict of interest. A concurrent
 conflict of interest exists if:
             (1) the representation of one client will be directly adverse to another
 client; or
             (2) there is a significant risk that the representation of one or more
 clients will be materially limited by the lawyer’s responsibilities to another client, a
 former client, or a third person, or by a personal interest of the lawyer.
        (b) Notwithstanding the existence of a concurrent conflict of interest under
 paragraph (a), a lawyer may represent a client if:
             (1) the lawyer reasonably believes that the lawyer will be able to
 provide competent and diligent representation to each affected client;
             (2) the representation is not prohibited by law;
             (3) the representation does not involve the assertion of a claim by one
 client against another client represented by the lawyer in the same litigation or
 other proceeding before a tribunal; and
             (4) each affected client gives consent after consultation, confirmed in
 writing.
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               The Court finds that Plaintiff has failed to carry the heavy burden and

 satisfy the high standard of proof to demonstrate that a conflict exists under HRPC

 Rule 1.7. First, Plaintiff has not shown that the representation of Defendant City

 and County of Honolulu will be directly adverse to the representation of Defendant

 Costa, or vice versa. See HRPC 1.7(a)(1). None of the claims asserted against

 Defendants require either Defendant City and County of Honolulu or Defendant

 Costa to take adverse positions. Second, Plaintiff has failed to show that there is a

 significant risk that the representation of Defendant Costa will be materially

 limited by counsel’s responsibilities to Defendant City and County of Honolulu.

 See HRPC 1.7(a)(2). As detailed in the Opposition, Defendant City and County of

 Honolulu or Defendant Costa have a unified theory of defense that does not

 include taking adverse positions. See ECF No. 215 at 15-17. The Court finds that

 Plaintiff has failed to demonstrate that a conflict exists. See, e.g., Rascon v.

 Brookins, 2017 WL 1019660, at *2 (D. Ariz. Mar. 16, 2017) (“Plaintiff’s argument

 regarding the potential conflict that may arise between the Individual Defendants

 and the City is insufficient for disqualification as Defendants have affirmatively

 asserted that their interests align.”).

               Further, the Court rejects Plaintiff’s argument that a written waiver

 was required. See ECF No. 219 at 13-14. It is only if a concurrent conflict exists

 that counsel must obtain the written consent of each client to proceed with the

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  representation. See HRPC 1.7(b)(4). The Court finds that Plaintiff has failed to

  present substantial evidence that a concurrent conflict of interest exists between

  Defendant City and County of Honolulu and Defendant Costa. Accordingly, even

  setting aside the untimeliness of the Motion and Plaintiff’s lack of standing,

  Plaintiff’s request to disqualify defense counsel under HRPC Rule 1.7 is DENIED.

                                    CONCLUSION

               Plaintiff’s Motion to Disqualify the Department of Corporation

  Counsel, Corporation Counsel, and Deputies Corporation Counsel is DENIED.

               IT IS SO ORDERED.

               DATED AT HONOLULU, HAWAII, DECEMBER 10, 2020.




                                        Wes Reber Porter
                                        Uruted States Magistrate Judge


  VARGAS V. CITY AND COUNTY OF HONOLULU, , ET AL.; CIVIL NO. 19-
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  THE DEPARTMENT OF CORPORATION COUNSEL, CORPORATION
  COUNSEL, AND DEPUTIES CORPORATION COUNSEL




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